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       VIA ECF

         Special Master
         Hon. Thomas Vanaskie
         Stevens & Lee
         1500 Market Street, East Tower, 18th
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       RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-2875-
       RBK-KMW (D.N.J.)

       Dear Judge Vanaskie:

              I am writing to request an extension of the current deadline for the ZHP Defendants to
       submit their responses to Plaintiffs’ proposed findings of fact and proposal for monetary sanctions
       pursuant to Special Master Order No. 98 (“SMO 98”) (ECF 2712). A proposed amended order is
       enclosed with this letter. Counsel for Plaintiffs have stated that they object to this request.

               SMO 98, which was issued on May 10, 2024, directed Plaintiffs to: (1) submit within seven
       days their “proposed findings of fact consistent with an adverse inference” as described in SMO
       98 and; (2) propose a monetary sanction and present a properly supported request for fees and
       costs within 14 days of the order. (SMO 98 at 39-40.) SMO 98 states that the ZHP Defendants
       shall have seven days from the date of these submissions to provide a response to Plaintiffs’
       proposals.

               The ZHP Defendants intend to object to SMO 98 pursuant to Fed. R. Civ. P. 53(f)(2), and
       that submission to Judge Bumb is due May 31, 2024. As a result, the ZHP Defendants ask that
       SMO 98 be amended as follows:
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 Special Master
 Hon. Thomas Vanaskie
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            •   The ZHP Defendants’ Response to Plaintiffs’ Proposed Findings of Fact shall be
                due seven (7) days after Judge Bumb’s ruling on the ZHP Defendants’ objections
                to SMO 98, if necessary.

            •   The ZHP Defendants’ Response to Plaintiffs’ Proposal regarding the “monetary
                penalty it believes is appropriate under the circumstances” shall also be due seven
                (7) days after Judge Bumb’s ruling on the ZHP Defendants’ objections to SMO 98,
                if necessary.

        Thank you for your attention to this matter.

                                              Respectfully Submitted,




                                              Jessica Davidson

 cc: All counsel of record (via ECF)
